8:06-cr-00019-LSC-FG3         Doc # 146     Filed: 10/31/06     Page 1 of 2 - Page ID # 401




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )              CASE NO. 8:06CR19
                                               )
              Plaintiff,                       )
                                               )
              vs.                              )              TENTATIVE FINDINGS
                                               )
JUAN VARGAS,                                   )
                                               )
              Defendant.                       )


       The Court has received the Presentence Investigation Report (“PSR”) and the

parties’ objections thereto (Filing No. 135, Addendum). 1 See Order on Sentencing

Schedule, ¶ 6. The Court advises the parties that these Tentative Findings are issued with

the understanding that, pursuant to United States v. Booker, 543 U.S. 220 (2005), the

sentencing guidelines are advisory.

       The government objects to the lack of a 2-level downward role adjustment in ¶ 35

for a minor role as contemplated by the parties in reaching the plea agreement. The

Court’s tentative finding is that the objection is granted.

       The Defendant objects to ¶ 67, which states that the sentencing guideline range

becomes 120-121 months due to the 10-year statutory minimum. The Court is bound to

apply the statutory minimum sentence unless the Defendant qualifies for the safety valve.

As the Defendant does not qualify for the safety valve, the objection is denied.

       IT IS ORDERED:

       1.     The government’s objection (Addendum) is granted;



       1
      The government did not file objections pursuant to ¶ 6 of the Order on Sentencing
Schedule.
8:06-cr-00019-LSC-FG3        Doc # 146      Filed: 10/31/06   Page 2 of 2 - Page ID # 402




       2.     The Defendant’s objection to the Presentence Investigation Report (Filing No.

135)is denied;

       3.     Otherwise the Court’s tentative findings are that the Presentence

Investigation Report is correct in all respects;

       4.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       5.     Absent submission of the information required by paragraph 4 of this Order,

my tentative findings may become final; and

       6.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 31st day of October, 2006.

                                           BY THE COURT:

                                           s/Laurie Smith Camp
                                           United States District Judge




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